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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

MAX BLU TECHNOLOGIES, LLC,                       §
                                                 §
        Plaintiff,                               §
                                                 §       CIVIL ACTION NO. 2:15-cv-1399
v.                                               §
                                                 §          JURY TRIAL DEMANDED
RLJ ENTERTAINMENT, INC.,                         §
                                                 §
        Defendant.                               §

                            PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff Max Blu Technologies, LLC (hereinafter, “Plaintiff” or “Max Blu”), by and

through its undersigned counsel, files this Original Complaint for Patent Infringement against

Defendant RLJ Entertainment, Inc. (hereinafter, “Defendant” or “RLJE”) as follows:

                                 NATURE OF THE ACTION

        1.      This is a patent infringement action to stop Defendant’s infringement of the

following patents (collectively, the “Patents-in-Suit”), which were duly and legally issued by the

United States Patent and Trademark Office (hereinafter, the “USPTO”), copies of which are

attached hereto as Exhibits A through E, respectively.

               Patent No.                        Title
        A.     7,352,685     REVERSE OPTICAL MASTERING FOR DATA
                             STORAGE DISK REPLICAS
        B.     7,801,016     REVERSE OPTICAL MASTERING FOR DATA
                             STORAGE DISK REPLICAS
        C.     8,593,931     REPLICA DISK FOR DATA STORAGE
        D.     RE44633       REVERSE OPTICAL MASTERING FOR DATA
                             STORAGE DISK REPLICAS
        E.     8,705,334     REPLICA DISK FOR DATA STORAGE




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         2.    Each of the Patents-in-Suit traces its priority date back to Application No.

09/055,825 (hereinafter, “the ’825 Application”), which was filed with the USPTO on April 6,

1998, and was the parent to Application No. 09/730,246 (hereinafter, “the ’246 Application”),

which was filed with the USPTO on December 5, 2000 and issued as United States Patent No.

6,890,704. Application No. 09/850,252 (hereinafter, “the ’252 Application”) was a continuation-

in-part application of the ‘246 Application, which was filed with the USPTO on May 7, 2001 and

issued as United States Patent No. 6,728,196 on April 27, 2004.

         3.    Plaintiff is the owner of the Patents-in-Suit and possesses all right, title and

interest in the Patents-in-Suit, including the right to enforce the Patents-in-Suit, the right to

license the Patents-in-Suit, and the right to sue Defendant for infringement and recover past

damages. Plaintiff seeks injunctive relief and monetary damages.

                                           PARTIES

         4.    Max Blu is a limited liability company organized and existing under the laws of

the State of Texas and maintains its principal place of business at 104 East Houston Street, Suite

150, Marshall, Texas, 75670 (Harrison County).

         5.    Upon information and belief, RLJE is a publically-traded corporation duly

organized and existing under the laws of the State of Nevada since April 2, 2012 and having its

principal place of business located at 8515 Georgia Avenue, Suite 650, Silver Spring, Maryland,

20910 (Montgomery County). Defendant may be served through its registered agent, CSC

Services Of Nevada, Inc., which is located at 2215 Renaissance Dr., Suite B, Las Vegas, Nevada,

89119.

         6.    Upon information and belief, Defendant ships, distributes, makes, uses, offers for

sale, sells, and/or advertises Blu-ray disk products and services, with such disks including, but

not limited to, The Numbers Station (the “Blu-ray Disks”).

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                                 JURISDICTION AND VENUE

       7.      This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq., including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has subject matter

jurisdiction over this case for patent infringement under 28 U.S.C. §§ 1331 and 1338(a).

       8.      The Court has personal jurisdiction over Defendant because: Defendant has

minimum contacts within the State of Texas and in the Eastern District of Texas; Defendant has

purposefully availed itself of the privileges of conducting business in the State of Texas and in

the Eastern District of Texas; Defendant has sought protection and benefit from the laws of the

State of Texas; Defendant regularly conducts business within the State of Texas and within the

Eastern District of Texas, and Plaintiff’s causes of action arise directly from Defendant’s

business contacts and other activities in the State of Texas and in the Eastern District of Texas.

       9.      More specifically, Defendant, directly and/or through its intermediaries, ships,

distributes, makes, uses, imports, offers for sale, sells, and/or advertises its products and

affiliated services in the United States, the State of Texas, and the Eastern District of Texas.

Upon information and belief, Defendant has committed patent infringement in the State of Texas

and in the Eastern District of Texas. Defendant solicits customers in the State of Texas and in

the Eastern District of Texas. Defendant has many paying customers who are residents of the

State of Texas and the Eastern District of Texas and who use Defendant’s products in the State

of Texas and in the Eastern District of Texas.

       10.     Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391

and 1400(b).

                              BACKGROUND INFORMATION

       11.     The Patents-in-Suit were duly and legally issued by the United States Patent and

Trademark Office after full and fair examinations. Plaintiff is the owner of the Patents-in-Suit,


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and possesses all right, title and interest in the Patent-in-Suit including the right to enforce the

Patents-in-Suit, the right to license the Patents-in-Suit, and the right to sue Defendant for

infringement and recover past damages.

       12.         Defendant sells, advertises, offers for sale, uses, or otherwise provides the Blu-ray

Disks (collectively, the “Accused Products”). A picture of the representative packaging for the

Accused Products is attached as Exhibit F (packaging for The Numbers Station).

       13.         Upon information and belief, Defendant owns, operates, advertises, and/or

controls     the    websites    www.rljentertainment.com,       www.image-entertainment.com,        and

www.watchimage.com through which Defendant advertises, sells, offers to sell, provides and/or

educates customers about the Accused Products. Evidence obtained from Defendant’s website

regarding these products is provided in Exhibit G (sale of The Numbers Station) and Exhibit H

(sale of other Blu-ray disks).

       14.         A representative analysis of the physical characteristics of the Accused Products

is attached as Exhibit I (analysis of The Numbers Station).

                                       COUNT I
                         INFRINGEMENT OF U.S. PATENT NO. 7,352,685

       15.         Plaintiff re-alleges and incorporates by reference each of Paragraphs 1-14 above.

       16.         United States Patent No. 7,352,685 (hereinafter, the “’685 Patent”) was duly and

legally issued by the USPTO on April 1, 2008 to its inventors, Jathan D. Edwards and Donald J.

Kerfeld, and was initially assigned to Imation Corporation. See Ex. A.

       17.         The ’685 Patent was issued after full and fair examination of application number

10/790,970 which was filed with the USPTO on March 2, 2004 as a continuation of application

number 09/850,252 (which itself issued as United States Patent No. 6,728,196). See Ex. A.




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       18.      A Certificate of Correction was issued for the ’685 Patent on February 16, 2010.

See Ex. A.

       19.      Plaintiff is informed and believes that Defendant has infringed and continues to

infringe the ’685 Patent either literally or under the doctrine of equivalents through the

manufacture and sale of infringing products. More specifically, Defendant has infringed and

continues to infringe one or more claims of the ’685 Patent, including at least Claims 1, 2-4, 7,

10, 19-26, 29, and 30-33, (the “’685 Patent Claims”) because it ships distributes, makes, uses,

imports, offers for sale, sells, and/or advertises the Accused Products. Specifically, Defendant’s

Accused Products infringe the ’685 Patent Claims by providing to its customers optical disks

with the physical characteristics as claimed in the ’685 Patent Claims. See, e.g., Ex. F; Ex. I.

Upon information and belief, Defendant’s Accused Products are available for sale on its website

and through various retailers located in this district and throughout the United States. See, e.g.,

Ex. G; Ex. H.

       20.      Upon information and belief, Defendant has intentionally induced and continues

to induce infringement of the ’685 Patent Claims in this district and elsewhere in the United

States, by its intentional acts which have successfully, among other things, encouraged,

instructed, enabled, and otherwise caused Defendant’s customers to use the Accused Products in

an infringing manner. Despite knowledge of the ’685 Patent as early as the date of service of the

Original Complaint in this action, Defendant, upon information and belief, continues to

encourage, instruct, enable, and otherwise cause its customers to use its systems and methods, in

a manner which infringes the ’685 Patent. Based upon information and belief, Defendant’s

source of revenue and business focus is the provision of and sale of the Accused Products. Upon

information and belief, Defendant has specifically intended its customers to use its systems and




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methods in such a way that infringes the ’685 Patent by, at a minimum, providing and supporting

the Accused Products and instructing its customers on how to use them in an infringing manner,

at least through information available on Defendant’s website including information brochures,

promotional material, and contact information. See Ex. G, Ex.-H. Upon information and belief,

Defendant knew that its actions, including, but not limited to any of the aforementioned systems

and methods, would induce, have induced, and will continue to induce infringement by its

customers by continuing to sell, support, and instruct its customers on using the Accused

Products. Id.

        21.     Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        22.     Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff

as a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        23.     Defendant’s infringement of Plaintiff’s rights under the ’685 Patent will continue

to damage Plaintiff, causing irreparable harm to Plaintiff for which there is no adequate remedy

at law, unless enjoined by this Court.

                                   COUNT II
                     INFRINGEMENT OF U.S. PATENT NO. 7,801,016

        24.     Plaintiff re-alleges and incorporates by reference each of Paragraphs 1-14 above.

        25.     United States Patent No. 7,801,016 (hereinafter, the “’016 Patent”) was duly and

legally issued by the USPTO on September 21, 2010 to its inventors, Jathan D. Edwards and

Donald J. Kerfeld, and was initially assigned to Imation Corporation. See Ex. B.




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         26.    The ’016 Patent was issued after full and fair examination of application number

12/584,454 which was filed with the USPTO on September 4, 2009 as a continuation of

application number 10/790,965 (which itself issued as United States Patent No. 7,600,992). See

Ex. B.

         27.    Plaintiff is informed and believes that Defendant has infringed and continues to

infringe the ’016 Patent either literally or under the doctrine of equivalents through the

manufacture and sale of infringing products.      Upon information and belief, Defendant has

infringed and continues to infringe one or more claims of the ’016 Patent, including at least

Claims 1, 5, 7, and 8 (the “’016 Patent Claims”) because it ships distributes, makes, uses,

imports, offers for sale, sells, and/or advertises the Accused Products. Specifically, Defendant’s

Accused Products infringe the ‘016 Patent Claims by providing to its customers optical disks

with the physical characteristics as claimed in the ’016 Patent Claims. See, e.g., Ex. F; Ex. I.

Upon information and belief, Defendant’s Accused Products are available for sale on its website

and through various retailers located in this district and throughout the United States. See, e.g.,

Ex. G; Ex. H.

         28.    Upon information and belief, Defendant has intentionally induced and continues

to induce infringement of the ’016 Patent Claims in this district and elsewhere in the United

States, by its intentional acts which have successfully, among other things, encouraged,

instructed, enabled, and otherwise caused Defendant’s customers to use the Accused Products in

an infringing manner. Despite knowledge of the ’016 Patent as early as the date of service of the

Original Complaint in this action, Defendant, upon information and belief, continues to

encourage, instruct, enable, and otherwise cause its customers to use its systems and methods, in

a manner which infringes the ’016 Patent. Based upon information and belief, Defendant’s




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source of revenue and business focus is the provision of and sale of the Accused Products. Upon

information and belief, Defendant has specifically intended its customers to use its systems and

methods in such a way that infringes the ’016 Patent by, at a minimum, providing and supporting

the Accused Products and instructing its customers on how to use them in an infringing manner,

at least through information available on Defendant’s website including information brochures,

promotional material, and contact information. See Ex. G, Ex.-H. Upon information and belief,

Defendant knew that its actions, including, but not limited to any of the aforementioned systems

and methods, would induce, have induced, and will continue to induce infringement by its

customers by continuing to sell, support, and instruct its customers on using the Accused

Products. Id.

        29.     Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        30.     Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff

as a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        31.     Defendant’s infringement of Plaintiff’s rights under the ’016 Patent will continue

to damage Plaintiff, causing irreparable harm to Plaintiff for which there is no adequate remedy

at law, unless enjoined by this Court.

                                  COUNT III
                     INFRINGEMENT OF U.S. PATENT NO. 8,593,931

        32.     Plaintiff re-alleges and incorporates by reference each of Paragraphs 1-14 above.




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         33.    United States Patent No. 8,593,931 (hereinafter, the “’931 Patent”) was duly and

legally issued by the USPTO on November 26, 2013 to its inventors, Jathan D. Edwards and

Donald J. Kerfeld, and was initially assigned to Legger Col. A.B. LLC. See Ex. C.

         34.    The ’931 Patent was issued after full and fair examination of application number

13/730,733 which was filed with the USPTO on December 28, 2012 as a continuation of

application number 13/089,994 (which itself issued as United States Patent No. 8,363,534). See

Ex. C.

         35.    Plaintiff is informed and believes that Defendant has infringed and continues to

infringe the ’931 Patent either literally or under the doctrine of equivalents through the

manufacture and sale of infringing products.      Upon information and belief, Defendant has

infringed and continues to infringe one or more claims of the ’931 Patent, including at least

Claims 1, 3-5, 7, and 9-11 (the “’931 Patent Claims”) because it ships distributes, makes, uses,

imports, offers for sale, sells, and/or advertises the Accused Products. Specifically, Defendant’s

Accused Products infringe the ’931 Patent Claims by providing to its customers optical disks

with the physical characteristics as claimed in the ’931 Patent Claims. See, e.g., Ex. F; Ex. I.

Upon information and belief, Defendant’s Accused Products are available for sale on its website

and through various retailers located in this district and throughout the United States. See, e.g.,

Ex. G; Ex. H.

         36.    Upon information and belief, Defendant has intentionally induced and continues

to induce infringement of the ’931 Patent Claims in this district and elsewhere in the United

States, by its intentional acts which have successfully, among other things, encouraged,

instructed, enabled, and otherwise caused Defendant’s customers to use the Accused Products in

an infringing manner. Despite knowledge of the ’931 Patent as early as the date of service of the




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Original Complaint in this action, Defendant, upon information and belief, continues to

encourage, instruct, enable, and otherwise cause its customers to use its systems and methods, in

a manner which infringes the ’931 Patent. Based upon information and belief, Defendant’s

source of revenue and business focus is the provision of and sale of the Accused Products. Upon

information and belief, Defendant has specifically intended its customers to use its systems and

methods in such a way that infringes the ’931 Patent by, at a minimum, providing and supporting

the Accused Products and instructing its customers on how to use them in an infringing manner,

at least through information available on Defendant’s website including information brochures,

promotional material, and contact information. See Ex. G, Ex.-H. Upon information and belief,

Defendant knew that its actions, including, but not limited to any of the aforementioned systems

and methods, would induce, have induced, and will continue to induce infringement by its

customers by continuing to sell, support, and instruct its customers on using the Accused

Products. Id.

        37.     Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        38.     Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff

as a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        39.     Defendant’s infringement of Plaintiff’s rights under the ’931 Patent will continue

to damage Plaintiff, causing irreparable harm to Plaintiff for which there is no adequate remedy

at law, unless enjoined by this Court.




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                                  COUNT IV
                     INFRINGEMENT OF U.S. PATENT NO. RE44633

       40.     Plaintiff re-alleges and incorporates by reference each of Paragraphs 1-14 above.

       41.     United States Reissued Patent No. RE44633 (hereinafter, the “’633 Patent”) was

duly and legally issued by the USPTO on December 10, 2013 to its inventors, Jathan D. Edwards

and Donald J. Kerfeld, and was initially assigned to Legger Col. A.B. LLC. See Ex. D. The

’633 Patent was filed with the USPTO on September 23, 2011 as application number

13/243,939. Id.

       42.     The reexamination that resulted in the issuance of the ’633 Patent was based on

United States Patent No. 7,952,986 (the “‘986 Patent”), which issued on May 31, 2011 from

Application No. 12/852,139 and was filed with the USPTO on August 6, 2010, as a continuation

of application number 12/ 584,454 (which itself issued as United States Patent No. 7,801,016)

See Ex. D.

       43.     Plaintiff is informed and believes that Defendant has infringed and continues to

infringe the ’633 Patent either literally or under the doctrine of equivalents through the

manufacture and sale of infringing products.      Upon information and belief, Defendant has

infringed and continues to infringe one or more claims of the ’633 Patent, including at least

Claims 1, 2, 15, 16, 18, and 19 (the “’633 Patent Claims”) because it ships distributes, makes,

uses, imports, offers for sale, sells, and/or advertises the Accused Products.       Specifically,

Defendant’s Accused Products infringe the ’633 Patent Claims by providing to its customers

optical disks with the physical characteristics as claimed in the ’633 Patent Claims. See, e.g.,

Ex. F; Ex. I. Upon information and belief, Defendant’s Accused Products are available for sale

on its website and through various retailers located in this district and throughout the United

States. See, e.g., Ex. G; Ex. H.


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        44.     Upon information and belief, Defendant has intentionally induced and continues

to induce infringement of the ’633 Patent Claims in this district and elsewhere in the United

States, by its intentional acts which have successfully, among other things, encouraged,

instructed, enabled, and otherwise caused Defendant’s customers to use the Accused Products in

an infringing manner. Despite knowledge of the ’633 Patent as early as the date of service of the

Original Complaint in this action, Defendant, upon information and belief, continues to

encourage, instruct, enable, and otherwise cause its customers to use its systems and methods, in

a manner which infringes the ’633 Patent. Based upon information and belief, Defendant’s

source of revenue and business focus is the provision of and sale of the Accused Products. Upon

information and belief, Defendant has specifically intended its customers to use its systems and

methods in such a way that infringes the ’633 Patent by, at a minimum, providing and supporting

the Accused Products and instructing its customers on how to use them in an infringing manner,

at least through information available on Defendant’s website including information brochures,

promotional material, and contact information. See Ex. G, Ex.-H. Upon information and belief,

Defendant knew that its actions, including, but not limited to any of the aforementioned systems

and methods, would induce, have induced, and will continue to induce infringement by its

customers by continuing to sell, support, and instruct its customers on using the Accused

Products. Id.

        45.     Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        46.     Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff

as a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,




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cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

       47.     Defendant’s infringement of Plaintiff’s rights under the ’633 Patent will continue

to damage Plaintiff, causing irreparable harm to Plaintiff for which there is no adequate remedy

at law, unless enjoined by this Court.

                                   COUNT V
                     INFRINGEMENT OF U.S. PATENT NO. 8,705,334

       48.     Plaintiff re-alleges and incorporates by reference each of Paragraphs 1-14 above.

       49.     United States Patent No. 8,705,334 (hereinafter, the “’334 Patent”) was duly and

legally issued by the USPTO on April 22, 2014 to its inventors, Jathan D. Edwards and Donald J.

Kerfeld, and was initially assigned to Legger Col. A.B. LLC. See Exhibit E.

       50.     The ’334 Patent was issued after full and fair examination of application number

14/065,337, which was filed with the USPTO on October 28, 2013 as a continuation of

application number 13/730,733 (which itself issued as United States Patent No. 8,593,931). See

Exhibit E.

       51.     Plaintiff is informed and believes that Defendant has infringed and continues to

infringe the ’334 Patent either literally or under the doctrine of equivalents through the

manufacture and sale of infringing products.      Upon information and belief, Defendant has

infringed and continues to infringe one or more claims of the ’334 Patent, including at least

Claims 1, 10, and 18 (the “’334 Patent Claims”) because it ships distributes, makes, uses,

imports, offers for sale, sells, and/or advertises the Accused Products. Specifically, Defendant’s

Accused Products infringe the ’334 Patent Claims by providing to its customers optical disks

with the physical characteristics as claimed in the ’334 Patent Claims. See, e.g., Ex. F; Ex. I.

Upon information and belief, Defendant’s Accused Products are available for sale on its website


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and through various retailers located in this district and throughout the United States. See, e.g.,

Ex. G; Ex. H.

        52.     Upon information and belief, Defendant has intentionally induced and continues

to induce infringement of the ’334 Patent Claims in this district and elsewhere in the United

States, by its intentional acts which have successfully, among other things, encouraged,

instructed, enabled, and otherwise caused Defendant’s customers to use the Accused Products in

an infringing manner. Despite knowledge of the ’334 Patent as early as the date of service of the

Original Complaint in this action, Defendant, upon information and belief, continues to

encourage, instruct, enable, and otherwise cause its customers to use its systems and methods, in

a manner which infringes the ’334 Patent. Based upon information and belief, Defendant’s

source of revenue and business focus is the provision of and sale of the Accused Products. Upon

information and belief, Defendant has specifically intended its customers to use its systems and

methods in such a way that infringes the ’334 Patent by, at a minimum, providing and supporting

the Accused Products and instructing its customers on how to use them in an infringing manner,

at least through information available on Defendant’s website including information brochures,

promotional material, and contact information. See Ex. G, Ex.-H. Upon information and belief,

Defendant knew that its actions, including, but not limited to any of the aforementioned systems

and methods, would induce, have induced, and will continue to induce infringement by its

customers by continuing to sell, support, and instruct its customers on using the Accused

Products. Id.

        53.     Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.




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       54.        Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff

as a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

       55.        Defendant’s infringement of Plaintiff’s rights under the ’334 Patent will continue

to damage Plaintiff, causing irreparable harm to Plaintiff for which there is no adequate remedy

at law, unless enjoined by this Court.

                                           JURY DEMAND

       56.        Plaintiff demands a trial by jury on all issues.

                                       PRAYER FOR RELIEF

       57.        Plaintiff respectfully requests the following relief:

             A.      An adjudication that one or more claims of the Patents-in-Suit has been

                     infringed, either literally and/or under the doctrine of equivalents, by the

                     Defendant;

             B.      An adjudication that Defendant has induced infringement of one or more

                     claims of the Patents-in-Suit;

             C.      An award of damages to be paid by Defendant adequate to compensate

                     Plaintiff for Defendant’s past infringement and any continuing or future

                     infringement up until the date such judgment is entered, including interest,

                     costs, and disbursements as justified under 35 U.S.C. § 284 and, if necessary

                     to adequately compensate Plaintiff for Defendant's infringement, an

                     accounting of all infringing sales including, but not limited to, those sales not

                     presented at trial;




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          D.     A grant of permanent injunction pursuant to 35 U.S.C. § 283, enjoining the

                 Defendant and its respective officers, agents, servants, employees, and

                 attorneys, and those persons in active concert or participation with them who

                 receive actual notice of the order by personal service or otherwise, from

                 further acts of infringement with respect to any one or more of the claims of

                 the Patents-in-Suit;

          E.     That this Court declare this to be an exceptional case and award Plaintiff its

                 reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and,

          F.     Any further relief that this Court deems just and proper.




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Dated: August 5, 2015                    Respectfully submitted,

                                         By: /s/ William E. Davis, III
                                         William E. Davis, III
                                         Texas State Bar No. 24047416
                                         THE DAVIS FIRM P.C.
                                         213 North Fredonia Street, Suite 230
                                         Longview, TX 75601
                                         Telephone: (903) 230-9090
                                         Facsimile: (903) 230-9661
                                         E-mail: bdavis@bdavisfirm.com

                                         Of Counsel:

                                         James F. McDonough, III (Bar No. 117088, GA)
                                         Jacqueline K. Burt (Bar No. 425322, GA)
                                         Jonathan R. Miller (Bar No. 507179, GA)
                                         HENINGER GARRISON DAVIS, LLC
                                         3621Vinings Slope, Suite 4320
                                         Atlanta, Georgia 30339
                                         Telephone: (404) 996-0869, 0861, 0863
                                         Facsimile: (205) 547-5502, 5504, 5506
                                         Email: jmcdonough@hgdlawfirm.com
                                         Email: jburt@hgdlawfirm.com
                                         Email: jmiller@hgdlawfirm.com

                                         Timothy C. Davis (Bar No. ASB-6834-D63T, AL)
                                         Admission papers forthcoming
                                         HENINGER GARRISON DAVIS, LLC
                                         2224 1st Avenue North
                                         Birmingham, Alabama 35203
                                         Telephone: (205) 327-9115
                                         Facsimile: (205) 326-3332
                                         Email: tim@hgdlawfirm.com

                                         René A. Vazquez (Bar No. 41988, VA)
                                         HENINGER GARRISON DAVIS, LLC
                                         18296 St. Georges Ct.
                                         Leesburg, Virginia 20176
                                         Telephone: (571) 206-1375
                                         Facsimile: (205) 327-9114
                                         Email: rvazquez@hgdlawfirm.com

                                         Attorneys for Plaintiff
                                         Max Blu Technologies, LLC




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